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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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                                          )
DALILA YEEND and                          )
BOUNNAM PHIMASONE                         )
                                          )
                                          )
                        Plaintiffs,       )                 Civil Case No.: 1:20-cv-01281
                                          )
v.                                        )
                                          )
                                          )
AKIMA GLOBAL SERVICES, LLC,               )
a/k/a AGS                                 )
                                          )
                                          )
                        Defendants.       )
                                          )
__________________________________________)


                                 NOTICE OF APPEARANCE
Olivia Post Rich, an attorney employed by the Worker Justice Center of New York and duly
admitted to practice before this honorable court, respectfully requests the Clerk enter their
appearance as one of the attorneys for Plaintiffs Dalila Yeend and Bounnam Phimasone in this
action, and further requests that all papers filed through the ECF system be served by e-mail at
opostrich@wjcny.org.
                                                            Respectfully submitted,
                                                            /s/ Olivia Post Rich
                                                            Olivia Post Rich, Esq.
                                                            Worker Justice Center of New York
                                                            1187 Culver Road
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Dated: August 18, 2022
